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 UNITED STATES ~ISTRICT COURT
 SOUTHERN DISTRiICT OF NEW YORK


  SHERF AM, INC.,                                                        15-CY-10170 (AKH)

                                          Plaintiff,
                                                                        STIPULATION
                                   v.
  CDx DIAGNOSTICIS, INC.,
  CDx LABORATOIDES, INC., and
  ORAL CANCER PREVENTION INTERNATIONAL, INC.,

                                          Defendants.


            IT IS HEREE:Y STIPULATED AND AGREED by and between the parties hereto that,

            l.    Defendants waive any right to appeal from the Judgment entered herei~ on

 December 14, 2016 or to seek vacatur or modification of the Judgment pursuant to Rules 59 or

 60. Fed. R. Civ. P.

            2.    Defendants CONSENT to the relief sought in Plaintiff's Motion for an Award of

 Attorney's Fees and Expenses. Defendants also consent to modification of the Judgment to add

a decretal paragraph.   ~warding   Plaintiff the sum of $705, 167 .09 as its attorney's fees and

expenses


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Dated: New York,      Nbw York
            Janua~,   2017

BENOWICH LAW, LLP                     OLSHAN FROME WOLOSKY LLP


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                                                     U.S.D.J.

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